                      UNITED  STATES Document:
                      Case: 24-8044  COURT OF10APPEALS
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                                                            Date THIRD   CIRCUIT
                                                                       12/11/2024

                                                       No. 24-8044

                           Atlas Data Privacy Corporation, et al.   vs. Blackbaud Inc., et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:
 TelTech Systems, Inc. and Epic Applications, LLC (incorrectly identified as Epic Enterprises, LLC)

Indicate the party’s role IN THIS COURT (check only one):
          ✔ Petitioner(s)
         ____                                ____ Appellant(s)                    ____ Intervenor(s)

         ____ Respondent(s)                  ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) CounseO’s Name Michael  D. Margulies
                                ________________________________________________________________
                                     ✔ Mr.
                                   ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /s/ Michael D. Margulies

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
